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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

TEXAS LEAGUE OF UNITED LATIN                          )
AMERICAN CITIZENS; NATIONAL                           )
LEAGUE OF UNITED LATIN                                )
AMERICAN CITIZENS; and JULIE                          )
HILBERG, Individually and on Behalf                   )
of Others Similarly Situated,                         )
                                                      )
        Plaintiffs,                                   )     CIVIL ACTION NO. SA-19-CA-00074-FB
                                                      )
V.                                                    )
                                                      )
DAVID WHITLEY, in his Official Capacity               )
as Secretary of State for the State of Texas;         )
and KEN PAXTON, in his Official Capacity              )
as Attorney General for the State of Texas,           )
                                                      )
        Defendants.                                   )

          ADVISORY CONCERNING PLANNING FOR FEBRUARY 19 HEARING

        In order to allow for the making of the testimonial record concerning the injunctive relief sought

by plaintiffs, it will be helpful to the Court for each side to submit a list setting forth which lawyers will

be advocating on particular issues, a list of potential witnesses, and which counsel will be involved in

direct and cross-examinations. This information should be filed on or before February 14, 2019.

        It is so ORDERED.

        SIGNED this 11th day of February, 2019.


                                          _________________________________________________
                                         FRED BIERY
                                         UNITED STATES DISTRICT JUDGE
